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                 EXHIBIT 120
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1                        UNITED STATES DISTRICT COURT
2                   FOR THE SOUTHERN DISTRICT OF NEW YORK
3                                    ---0O0---
4
5       NIKE, INC.,
6                             Plaintiff,
7           vs.                        CASE NO. 1:22-CV-00983-VEC
8       STOCKX LLC,
9                             Defendant.
        ____________________________________________________
10
11
12                  VIDEOTAPED DEPOSITION OF SARAH BUTLER
13                        San Francisco, California
14                         Tuesday, August 15, 2023
15
16
17
18
19
20
21
22
23      Stenographically Reported by:                 Ashley Soevyn,
        CSR No. 12019
24      Job No. 5968272
25      Pages 1 - 224

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                                                                         Page 2

1                        UNITED STATES DISTRICT COURT
2                   FOR THE SOUTHERN DISTRICT OF NEW YORK
3                                    ---0O0---
4
5       NIKE, INC.,
6                             Plaintiff,
7           vs.                        CASE NO. 1:22-CV-00983-VEC
8       STOCKX, LLC,
9                             Defendant.
        ____________________________________________________
10
11
12
13
14
15                                 Videotaped Deposition of
16      SARAH BUTLER, taken on behalf of the Plaintiff Nike,
17      Inc., Pursuant to Notice, at the offices of DLA
18      Piper, 555 Mission Street, San Francisco, California
19      beginning at 8:56 a.m.            and ending at 4:51 p.m. on
20      Tuesday, August 15, 2023, before me, ASHLEY SOEVYN,
21      Certified Shorthand Reporter No. 12019.
22
23
24
25

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1       this case as to whether sales of Nike and
2       Jordan-branded goods on StockX's platforms are
3       attributable to the false and/or misleading claims
4       made by StockX?
5                     MR. FORD:       Object to form.
6                     THE WITNESS:         And so, the reason I
7       clarified with the word "data" is I've not been
8       asked to look at sales data.               I've been asked to
9       look at whether or not the allegedly false
10      statements have an impact on consumers willingness
11      to use the StockX platform.
12      BY MR. MILLER:
13              Q     Okay.     Understood.          And is that what
14      you've been asked to look at, that assignment
15      responding to the issue of whether or not the sales
16      of Nike and Jordan-branded goods on StockX's
17      platform are attributable to the false and/or
18      misleading claims made by StockX?
19              A     And just to clarify, when you say
20      "sales," I'm understanding that to mean actual sales
21      data that have or sales that have occurred.                      I'm not
22      applying or calculating some rate at which sales are
23      or are not attributable.            I've been asked to design
24      a survey to evaluate whether or not these statements
25      have an impact on consumer purchasing behavior and

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                                                                       Page 59

1       the results show that they don't.
2               Q     So if I'm understanding you correctly,
3       you are offering an expert opinion in this case as
4       to whether consumers were interested in purchasing
5       Nike and Jordan-branded goods on the StockX platform
6       because of the false and/or misleading claims made
7       by StockX?
8                     MR. FORD:       Object to form of the
9       question.
10                    THE WITNESS:         I don't think that's quite
11      how I'd characterize it.            The survey evaluates
12      whether or not the presence or absence of the
13      allegedly false or misleading claims would have an
14      impact on consumers interest in using the StockX
15      website.
16              Q     To purchase Nike or Jordan-branded
17      sneakers?
18              A     They are certainly shown Nike or --
19      sorry, did you say Jordan --
20              Q     Yes.
21              A     -- sneakers?         They are certainly shown
22      that as part of the survey.               So yes, those sneakers
23      are present and held constant in the test and the
24      control.
25              Q     Is your survey designed to test consumer

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                                                                       Page 62

1       advertising claim from the rest of the advertising
2       claims that you were testing?
3               A     I'm not sure what you mean by "isolate."
4               Q     What do you understand the word "isolate"
5       to mean?
6               A     Well, I understand the word "isolate."                        I
7       don't understand what you mean in the context of the
8       survey.     It is shown on a separate page, that is a
9       different page from other pages that were shown.
10              Q     So is that how you were able to isolate
11      the 100 percent advertising -- sorry, the 100
12      percent authentic advertising claim from the other
13      advertising claims that you were testing?
14              A     Again, not sure what you are intending to
15      mean by isolate.        The 100 percent authentic claim
16      was shown as part of the pages that were tested in a
17      survey as it appears in the real world, or had
18      appeared in the real world.
19              Q     And is it your opinion that consumers
20      interest in purchasing Nike or Jordan-branded goods
21      on StockX's platform is not attributable to the
22      100 percent authentic advertising claim?
23              A     Well, the survey results demonstrate that
24      the authentication claims including -- yeah, the
25      authentication claims or statements including the

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1       100 percent authentic statement, does not have an
2       impact on consumers willingness to purchase a pair
3       of sneakers using the StockX platform.
4               Q       And again, focusing just on the
5       advertising claim of 100 percent authentic, does
6       your survey measure the impact of that particular
7       advertising claim had on consumer purchasing
8       decisions?
9               A       Well, if I understand your question, the
10      survey does measure the extent to which 100 percent
11      authentic as well as other advertising claims had an
12      impact on consumers willingness to purchase sneakers
13      using the StockX platform.
14              Q       Okay.     But separate from the other
15      advertising claims that tested, does your survey
16      measure the impact that the 100 percent authentic
17      advertising claim had on consumer purchasing
18      decisions?
19              A       Well, since the impact is essentially
20      zero that we measure, I mean, you could portion out
21      zero.       But zero cut into pieces is still zero, so it
22      doesn't have an impact.              I mean, the survey results
23      demonstrate that there is not an impact of using the
24      authentication statements relative to those
25      statements not appearing.

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1       report that I believe the data from my survey can be
2       used to address or can inform a response to.
3               Q     So you're not directly rebutting the
4       portion of Mr. Hansen's opinion that you just
5       pointed me to?
6               A     I certainly --
7                     MR. FORD:        Objection to the form of the
8       question.     Sorry.
9                     THE WITNESS:          Apologies.        I am certainly
10      providing an opinion that is responsive to an
11      assessment that the profits or sales or consumers --
12      the revenue is all derived from these false and
13      misleading statements.            So the impact of the false
14      and misleading statements.
15              Q     So your expert report is not titled
16      opinion that's responsive to that portion of
17      Mr. Hansen's opinion, right?
18              A     If you're simply asking me what the title
19      of the report is, it's Expert Rebuttal Report of
20      Sarah Butler.         And then, I think in paragraph 8, as
21      we've discussed at length, I articulate and
22      reference the paragraph in Mr. Hansen's report -- he
23      has another similar paragraph in his amended report
24      to which I am responding and I explain in paragraph
25      9 what the assignment was.

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1               Q     On what?
2               A     That depends on the population to which
3       you're trying to extrapolate.                It depends on the
4       manner in which the sample was drawn.                   It depends on
5       the results that are observed.                 So it depends.
6               Q     Okay.     In this case, do you believe that
7       409 respondents that completed the survey met that
8       minimum threshold?
9               A     Well, the 409 respondents are certainly a
10      sufficient sample size to allow me to assess whether
11      there is a statistically significant difference in
12      the distribution of likelihood of purchasing between
13      the two groups.       And I've run those tests across a
14      whole array of different calculations, and the
15      results demonstrate that the results aren't
16      statistically significantly different between the
17      two groups.
18              Q     Okay.     What factors or facts did you
19      consider to make the assessment that 409 respondents
20      that took your survey were a sufficient sample size?
21              A     So by running the statistical test I can
22      evaluate whether or not there is a difference
23      between the two groups.
24                    I mean, typically, you can run a
25      difference of proportions between two populations

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1       even at sample sizes of 50.               So certainly 409, two
2       hundred in each group, is a sufficient amount of
3       data to evaluate whether there is a statistically
4       significant difference between the distribution of
5       responses between the two populations.
6               Q      Did you consider any factors about the
7       population to which you are trying to extrapolate
8       when deciding that 409 respondents were a sufficient
9       population for this study?
10              A      So if I'm understanding your question, I
11      have not extrapolated with a confidence interval
12      around the results here to some other population.
13      The study is designed to evaluate whether there is a
14      statistically significant difference between the two
15      groups that are being measured.                 And we have
16      sufficient amounts of data to allow us to evaluate
17      whether the variation between the purchase intention
18      between these two groups is statistically
19      significantly different.
20              Q      Okay.    When you say you "have not
21      extrapolated with a confidence interval around
22      results here to some other population," what do you
23      mean?
24              A      Well, you're using the word extrapolation
25      which to me means I have a point estimate here

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